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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE


ALICIA M. PEDREIRA, et al.                                                       PLAINTIFFS

vs.                                                    CIVIL ACTION NO. 3:00-CV-210-CRS

SUNRISE CHILDREN’S SERVICES, INC.                                              DEFENDANTS
f/k/a KENTUCKY BAPTIST HOMES
FOR CHILDREN, INC., et al.

                                              ORDER



       This matter is before the Court on a joint motion of the Plaintiffs, Alicia M. Pedreira, et

al., and the Commonwealth Defendants (Janie Miller, Secretary, Cabinet for Health and Family

Services and J. Michael Brown, Secretary, Justice and Public Safety Cabinet) for a stay of

proceedings pending further settlement negotiations. Defendant Sunrise Children’s Services,

Inc. (“Sunrise”) objects to any further stay of this case and has additionally moved to strike the

reply brief filed in support of the motion for stay.

       Motions having been made and upon due consideration by the Court, IT IS HEREBY

ORDERED AND ADJUDGED that the Joint Motion for Stay of Proceedings (DN 610) is

DENIED.

       IT IS FURTHER ORDERED that the motion of the defendant, Sunrise Children’s

Services, Inc. to strike (DN 613) is DENIED.

       IT IS FURTHER ORDERED that the Plaintiffs, Alicia M. Pedreira, et al., SHALL

RESPOND to the motion of Sunrise Children’s Services, Inc., for summary judgment (DN 480)

and the motion for Joinder in Sunrise’s Motion for Summary Judgment (DN 495) WITHIN

TWENTY-ONE (21) DAYS FROM THE DATE OF ENTRY OF THIS ORDER.                                    The
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Defendants MAY REPLY to the Plaintiffs’ responses WITHIN FOURTEEN (14) DAYS

FROM THE DATE OF SERVICE OF THE RESPONSE.




                 November 12, 2020




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